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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)             ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                                UNITED STATES DISTRICT COURT
                                                                                                                   FILED
                                                             for the                                     CLERK, U.S. DISTRICT COURT



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                                                  Central District of California
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                             &/'
                                                                                                         BY: ___________________ DEPUTY

 United States of America

                 v.
                                                                                   2:25-MJ-03507-DUTY
                                                                       Case No.
 Gisselle Medina,

                 Defendant.


                            CRIMINAL COMPLAINT BY TELEPHONE
                           OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of June 7, 2025, in the county of Los Angeles in the Central District of California, the

defendant violated:

           Code Section                                                Offense Description

           18 U.S.C. § 372                                             Conspiracy to Impede an Officer

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.


                                                                                                /s/
                                                                                     Complainant’s signature

                                                                            Michael Rodriguez, HSI Special Agent
                                                                                      Printed name and title
 Attested to by the applicant in accordance with the requirements
                                                           ements of Fed. R. Crim. P. 4.1 by telephone.
                                                                                             teleph

 Date:                -XQHDWSP
                                                                                         Judge’s signat
                                                                                                 signature
                                                                                                     a ure

 City and state: Los Angeles, California                               Hon. Jacqueline Chooljian U.S. Magistrate Judge
                                                                                      Printed name and title


AUSA: Mirelle Raza x6058
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                                AFFIDAVIT

     I, Special Agent Michael Rodriguez, being duly sworn,

declare and state as follows:

                         I. PURPOSE OF AFFIDAVIT

      1.    This affidavit is made in support of a criminal

complaint against and arrest warrant for Gisselle MEDINA

(“MEDINA”) for a violation of 18 U.S.C. § 372 (Conspiracy to

Impede an Officer).

      2.    The facts set forth in this affidavit are based upon

my personal observations; my training and experience;

information obtained from various law enforcement personnel; and

Mirandized interviews with MEDINA.          This affidavit is intended

to show merely that there is sufficient probable cause for the

requested complaint and arrest warrant and does not purport to

set forth all my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only.

           II. BACKGROUND OF SPECIAL AGENT MICHAEL RODRIGUEZ

     3.     I am a Special Agent (“SA”) with the United States

Department of Homeland Security (“DHS”), Immigration and Customs

Enforcement (“ICE”), Homeland Security Investigations (“HSI”)

since approximately September 2018. Prior to employment with

HSI, I was a police officer and detective for the Lansing,

Illinois Police Department from July 2007 until 2018. I am

currently assigned to the HSI Orange County field office.




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                  III. STATEMENT OF PROBABLE CAUSE

      4.   Based on conversations with other law enforcement

agents, Mirandized interviews of MEDINA, and my own knowledge of

the investigation, I am aware of the following:

      5.   On the morning of June 7, 2025, a protest was taking

place outside the area of a complex that houses an HSI             office

located in the area of the 6300 block of Alondra Blvd.,

Paramount, California (the “Paramount Office Complex”).

      6.   The United States Border Patrol (“USBP”), along with

other federal law enforcement agencies, was present at the

Paramount Office Complex to provide physical safety and security

to DHS property and personnel. A number of the protesters turned

violent and threw objects at law enforcement vehicles.

      7.   At approximately 10:00 a.m., MEDINA was arrested at

the scene by USBP personnel.

      8.   Following her arrest, MEDINA was transported to the

HSI office in Santa Ana, California, for further investigation.

      9.   I conducted a custodial interview of MEDINA, with HSI

agents Adam Gallegos and Ryan Taylor. Prior to questioning,

MEDINA was advised of her Miranda Rights, which she acknowledged

and waived in writing. During the interview, that began at

approximately 3:20 p.m. on June 7, 2025, MEDINA was asked what

had occurred at the protest. MEDINA stated the following, in

substance and summary:

           a.   MEDINA had originally intended to go to Home

Depot, located at 6400 Alondra Blvd., Paramount, California, to
purchase materials for her business. She observed the protest
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near that location and recognized, based on recent events in Los

Angeles and social media, that it was immigration related.

           b.   MEDINA parked nearby and, along with her

boyfriend, approached and joined the protest.

           c.   Upon arriving at the protest, MEDINA prayed and

became emotionally overwhelmed due to concerns about immigration

enforcement in her community. She described herself as someone

who “gets that way” and admitted she became “very angry.”

           d.   When asked why she joined the protest, MEDINA
said she wanted to support “our people,” referring to the

Hispanic community, whom she believed were being unfairly

targeted by immigration authorities.

           e.   MEDINA was asked to describe the events leading

to her arrest and stated that she saw a police vehicle and began

shouting at law enforcement to “leave” and “please stop.”

           f.   When asked if she was attempting to obstruct
officers, MEDINA stated, “I knew what I was doing. I was trying

to stop them from going over there.”

      10. The interview stopped at approximately 3:35 p.m.,

however agents re-engaged in a second interview with MEDINA at

approximately 4:30 p.m., in order to clarify facts related to

her statement. Agents confirmed MEDINA still understood her

Miranda Rights, which she affirmed. During this second

interview, MEDINA stated the following:

           a.   MEDINA had not actually seen a police vehicle.

Instead, she described an incident where someone in the crowd
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threw a firework. USBP officers responded by moving toward the

person who threw the firework.

            b.   MEDINA and others in the crowd moved in front of

the USBP officers and began yelling “stop, stop,” while

extending her arms outward. Agents asked MEDINA to confirm if

her intention was to stop law enforcement from performing their

lawful duties. MEDINA stated, “yes”. MEDINA then physically

demonstrated the actions she performed. MEDINA stood and spread

her arms out. The interview concluded at approximately 4:35 p.m.
        11. I made contact with a USBP supervisor and requested

that the supervisor identify the USPS agent that made the arrest

of MEDINA. The supervisor identified the agent as Agent C.L.

        12. At approximately 9:03 p.m. I conducted a phone

interview with Agent C.L. I confirmed that Agent C.L. was the

agent that in fact arrested MEDINA and asked Agent C.L. what

lead to MEDINA’s arrest. In summary, Agent C.L. stated that he
was on the scene at the Paramount Office Complex with many other

USBP agents during the protest. An unidentified male subject,

whom Agent C.L. believed was MEDINA’s boyfriend, threw a rock at

the agents. When USBP attempted to apprehend the male subject,

MEDINA jumped in front of a USBP agent near Agent C.L., grabbed

onto the agent, and prevented the arrest of the male subject who

threw a rock at agents. Agent C.L. arrested MEDINA. Agent C.L.

advised that MEDINA continuously apologized after the arrest was

made.
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                             IV. CONCLUSION

      13. For all of the reasons described above, there is

probable cause to believe that MEDINA has committed a violation

of 18 U.S.C. § 372 (Conspiracy to Impede an Officer).




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
    p
telephone          WK day
          on this ____   y of
June, 2025DWSP.



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    RA
     ABLE JACQUELINE CHOOLJIAN
UNITED STATES MAGISTRATE JUDGE
